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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF AN APPLICATION                   Case No. ____________________
 FOR CRIMINAL COMPLAINT FOR
 MARIIA BUTINA, ALSO KNOWN AS
 MARIA BUTINA


                            AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A CRIMINAL COMPLAINT

       I, Kevin Helson, being first duly sworn, hereby depose and state that I am a Special Agent

with the Federal Bureau of Investigation (FBI) and charge as follows:

                                   THE FBI INVESTIGATION

       1.    The bases of my knowledge for the facts alleged herein are as follows. I have been a

Special Agent with the FBI for 15 years. Currently, I am assigned to the Counterintelligence

Division within the Washington Field Office of the FBI. The focus of my counter intelligence

efforts has been the investigation of the foreign intelligence activities of the Russian Federation. I

have learned the facts contained in this affidavit from, among other sources, my personal

participation in this investigation, my discussions with other law enforcement agents, searches that

have been conducted, surveillance that has been conducted, and reviews of documents, electronic

items, and other evidentiary materials.

       2.    In the course of this investigation, the FBI has employed a variety of lawful

investigative methods, including the acquisition of Rule 41 search warrants of two premises, which

included authorization to search electronic devices. One of those searches included a laptop

computer belonging to MARIIA BUTINA, a/k/a “Maria Butina” (“BUTINA”), (hereinafter

“BUTINA’s Laptop”) and an iPhone belonging to BUTINA (hereinafter “BUTINA’s iPhone”).

Because this affidavit is being submitted for the limited purpose of establishing probable cause, it

does not include every fact that I have learned during the course of this investigation. Further, any
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statements related herein are related in substance and in part only. Finally, certain items related

herein were translated by FBI linguists from Russian to English.

                                        BACKGROUND

 Title 18, U.S. Code, sections 371 (Conspiracy) and 951 (Agents of Foreign Governments)

       3.    Title 18 of the United States Code, section 371 (Conspiracy to Commit Offense or to

Defraud United States), makes it a criminal offense for any person(s) to conspire together with one

or more others either to commit an offense against the United States or to defraud the United States,

or any agency thereof, in any manner or for any purpose.

       4.    Title 18 of the United States Code, section 951 (Agents of Foreign Governments),

makes it a criminal offense for any person, other than a diplomatic or consular official or attaché,

to act in the United States as an agent of a foreign government without prior notification to the

Attorney General, as required by law. For purposes of this law, the term “agent of a foreign

government” includes an individual who agrees to operate within the United States subject to the

direction or control of a foreign government or official.

                                Relevant Persons and Definitions

       5.    Defendant BUTINA is a Russian citizen who entered the United States in August 2016

on an F-1 Student Visa. Before and after her arrival in the United States, BUTINA served as

Special Assistant to the RUSSIAN OFFICIAL. Conspiring together, BUTINA and the RUSSIAN

OFFICIAL took various overt acts in furtherance of the conspiracy and to effect the illegal purpose

thereof.

       6.    The RUSSIAN OFFICIAL is a Russian citizen and a high-level official in the Russian

government. The RUSSIAN OFFICIAL was previously a member of the legislature of the Russian

Federation and later became a top official at the Russian Central Bank. The RUSSIAN OFFICIAL

directed BUTINA’s activities in furtherance of the conspiracy.


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        7.    U.S. Person 1 is a United States citizen and an American political operative. BUTINA

established contact with U.S. Person 1 in Moscow in or around 2013. U.S. Person 1 worked with

BUTINA to jointly arrange introductions to U.S. persons having influence in American politics,

including an organization promoting gun rights (hereinafter “GUN RIGHTS ORGANIZATION”),

for the purpose of advancing the agenda of the Russian Federation.

        8.    U.S. Person 2 is a United States citizen who was included among the participants in

a series of email communications in 2016 and 2017 that reveal BUTINA’s efforts to arrange a

series of dinners in the District of Columbia and New York City involving Russian nationals and

U.S. persons having influence in American politics (hereinafter “friendship and dialogue

dinners”). BUTINA told U.S. Person 2 that the RUSSIAN OFFICIAL was “very much impressed

by you” and that “the Russians will support the efforts from our side.”

        9.    The Ministry of Foreign Affairs of the Russian Federation (MFA) is the Russian

government agency with primary responsibility for the Russian Federation’s foreign relations and

foreign policy.

                                    Actions of the Russian Federation

        10.   The Russian Federation, or Russia, is one of the leading state intelligence threats to

U.S. interests, based on its capabilities, intent, and broad operational scope. Penetrating the U.S.

national decision-making apparatus and the Intelligence Community are primary objectives for

numerous foreign intelligence entities, including Russia. The objective of the Russian Federation

leadership is to expand its sphere of influence and strength, and it targets the United States and

U.S. allies to further that goal.

        11.   Russian influence operations are a threat to U.S. interests as they are low-cost,

relatively low-risk, and deniable ways to shape foreign perceptions and to influence populations.

Moscow seeks to create wedges that reduce trust and confidence in democratic processes, degrade


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democratization efforts, weaken U.S. partnerships with European allies, undermine Western

sanctions, encourage anti-U.S. political views, and counter efforts to bring Ukraine and other

former Soviet states into European institutions.

       12.    In 2018, pursuant to Executive Order 13661, the U.S. Department of the Treasury’s

Office of Foreign Assets Control (OFAC), in consultation with the U.S. Department of State, listed

seven Russian oligarchs and 12 companies they own or control, 17 senior Russian government

officials, including the RUSSIAN OFFICIAL, and a state-owned Russian weapons trading

company and its subsidiary, a Russian bank, as specially designated nationals. OFAC sanctioned

the RUSSIAN OFFICIAL for being an Official of the Government of the Russian Federation. In

sanctioning these entities, U.S. Treasury Secretary Steven T. Mnuchin announced:

       The Russian government engages in a range of malign activity around the
       globe, including continuing to occupy Crimea and instigate violence in
       eastern Ukraine, supplying the Assad regime with material and weaponry
       as they bomb their own civilians, attempting to subvert Western
       democracies, and malicious cyber activities. Russian oligarchs and elites
       who profit from this corrupt system will no longer be insulated from the
       consequences of their government’s destabilizing activities.

              THE DEFENDANT’S ACTIVITIES ON BEHALF OF RUSSIA

       13.    As detailed below, the FBI’s investigation has revealed that BUTINA, the defendant,

was working in the United States at the direction of the RUSSIAN OFFICIAL.

       14.    The FBI’s investigation has further revealed that BUTINA and the RUSSIAN

OFFICIAL took steps to develop relationships with American politicians in order to establish

private, or as she called them, “back channel” lines of communication. These lines could be used

by the Russian Federation to penetrate the U.S. national decision-making apparatus to advance the

agenda of the Russian Federation.

       15.    The FBI’s investigation has also revealed that BUTINA and the RUSSIAN




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OFFICIAL planned to advance Moscow’s long-term strategic objectives in the United States, in

part, by establishing relationships with American political organizations, including the GUN

RIGHTS ORGANIZATION.              Based on my training, experience and familiarity with this

investigation, I believe that BUTINA and the RUSSIAN OFFICIAL took these steps in order to

infiltrate those groups and advance the interests of the Russian Federation.

       16.    The Russian influence operation included, among other things, (i) taskings from the

RUSSIAN OFFICIAL to BUTINA; (ii) meetings between BUTINA and U.S. politicians and

political candidates; (iii) BUTINA’s attendance at events sponsored by special interest groups,

also attended by U.S. politicians and political candidates; and (iv) BUTINA’s reporting back to

Moscow through the RUSSIAN OFFICIAL the results of the various encounters with the U.S.

politicians and political candidates.

                               Laying the Groundwork in Russia

       17.    During the course of her work as a covert Russian agent, BUTINA regularly met and

communicated with the RUSSIAN OFFICIAL and U.S. Person 1 to plan and develop the contours

of the influence operation.

       18.    On or about March 24, 2015, BUTINA emailed U.S. Person 1 with the subject line

of “The Second Pozner.” 1 The body of this email also contained a project proposal. BUTINA

noted to U.S. Person 1 in the email that she was sending the “Google Translator text. Maybe I

could translate it myself but it would take at least a day because the text is very specific.” She

went on to note that she “will be happy to answer to any your questions [sic] and follow your

recommendations before a [sic] finally send it.” The first line of the proposal reads, “Project

Description ‘Diplomacy.’” It goes on to state that a major U.S. political party [hereinafter


1
        I believe that this statement likely refers to Vladimir Pozner, a propagandist who served in
the disinformation department of the Soviet KGB and who often appeared on Western television
to explain the views of the Soviet Union during the Cold War.

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“POLITICAL PARTY 1”], would likely obtain control over the U.S. government after the 2016

elections; that POLITICAL PARTY 1 is “traditionally associated with negative and aggressive

foreign policy, particularly with regards to Russia. However, now with the right to negotiate seems

best to build konstruktivnyh [sic] relations;” and that “[c]entral place and influence in the

[POLITICAL PARTY 1] plays the [GUN RIGHTS ORGANIZATION]. The [GUN RIGHTS

ORGANIZATION] [is] the largest sponsor of the elections to the US congress, as well as a sponsor

of The CPAC conference and other events.”

       19.    The March 24, 2015 email further highlighted BUTINA’s relationship with the GUN

RIGHTS ORGANIZATION’s leadership, including her attendance at events in the United States

and BUTINA’s and the RUSSIAN OFFICIAL’s connections to officials of the GUN RIGHTS

ORGANIZATION. BUTINA described recent visits to the United States, including references to

instances when she was introduced to POLITICAL PARTY 1 leaders as a “representative of

informal diplomacy” of the Russian Federation. BUTINA’s project proposal concluded by noting,

“[t]he resulting status needs to be strengthened is in the current time interval, before the

presidential election in 2016,” and requesting a budget of $125,000 for BUTINA to participate in

“all upcoming major conferences” of POLITICAL PARTY 1.

       20.    In late March 2015, U.S. Person 1 replied to BUTINA via email with the subject

“Potential American Contacts”:

             Dear Maria,

             * * *

             Your challenge in your “special project” will be to balance two opposing
             imperatives: Your desire to communicate that you speak for Russian
             interests that will be ascendant (still around) in a post-Putin world while
             simultaneously doing nothing to criticize the President or speed the arrival
             of his successor.

             This restriction is easily understood in private meetings with political and
             business leaders. It will SEVERELY limit your interactions with media.

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              Most of the potential “guest appearances” listed under media will only be
              possible if you’re willing to be more candid (honest) than is politically
              prudent for you. But ALL of the media personalities listed would be
              interested in meeting you “off the record” – though your patrons / sponsors
              may not fully understand the power of such meetings if you do not appear
              on television, radio, or print as you do in Russia.

              * * *

              [T]here is NO limit as to how many American companies that you can
              meet—at the highest levels—if you are able to represent that you are a
              potential line of communication into future Russian Federation
              governments.

In this email, U.S. Person 1 listed potential media, business, and political contacts, and closed with,

“Everyone on this list understands (to some degree) U.S. / Russian relations under President

Obama and President Putin. Everyone on this list would like to better understand U.S. / Russian

relations under new presidents for each country. YOU can provide commentary on both—

if you’re willing to take that risk.”

        21.    Also in late March 2015, U.S. Person 1 emailed BUTINA, with the subject line

“Your Plan Forward.” In this email, U.S. Person 1 told BUTINA that

              If you were to sit down with your special friends and make a list of ALL the
              most important contacts you could find in America for a time when the
              political situation between the U.S. and Russia will change, you could NOT
              do better than the list that I just emailed you. NO one – certainly not the
              “official” Russian Federation public relations representative in New York –
              could build a better list. And for a variety of current political reasons, the
              current Russian ambassadors to the United States and United Nations do not
              even try.

              YOU HAVE ALREADY MET ALL OF THE AMERICANS necessary to
              introduce you to EVERYONE on that list. . . .

              If you had NOT spent the last year attending conferences in America, it
              would take you ANOTHER year to be able to meet the names on that list.
              What you have done is prepare all of the groundwork (necessary
              introductions) in order to be introduced to everyone on that list. All that is
              needed is for your friends to provide you with the financial resources to
              spend the time in America to TAKE ALL OF THESE MEETINGS. I and
              your friends in America can’t make it any easier for you than that.

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            Your potential sponsors either understand this or they don’t. The names of
            all of the people that impress your friends by listing them. All that your
            friends need to know is that meetings with the names on MY list would not
            be possible without the unknown names in your “business card” notebook.
            Keep them focused on who you are NOW able to meet, NOT the people
            you have ALREADY met.

      22.    Your affiant has reviewed a number of .pdf documents stored in BUTINA’s

Laptop containing Twitter direct messages between BUTINA and the RUSSIAN OFFICIAL that

reflect direction and coordination of BUTINA’s efforts by the RUSSIAN OFFICIAL. The direct

messages between BUTINA and the RUSSIAN OFFICIAL in the latter half of 2015 include:

               •   A conversation between the RUSSIAN OFFICIAL and BUTINA regarding

                   an article published by BUTINA in The National Interest on or about June

                   12, 2015, which argued that certain U.S. politicians and Russians share

                   many common interests. BUTINA asked the RUSSIAN OFFICIAL to look

                   at the article, and the RUSSIAN OFFICIAL said it was very good;

               •   A request by the RUSSIAN OFFICIAL for BUTINA to “write [him]

                   something brief” about a political event in the United States which she was

                   scheduled to attend. BUTINA provided that write-up the next day, which

                   included descriptions of her speaking to a political candidate on the night of

                   the announcement, as well as BUTINA’s previous private meeting with the

                   candidate at the 2015 annual GUN RIGHTS ORGANIZATION members’

                   meeting;

               •   Discussions about the RUSSIAN OFFICIAL’s anticipated attendance at a

                   National Prayer Breakfast (including whether he had received approval to

                   attend from the MFA), and providing the RUSSIAN OFFICIAL with




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                   biographies of U.S. politicians and executives of the GUN RIGHTS

                   ORGANIZATION;

               •   Discussions about the RUSSIAN OFFICIAL’s plans to meet with a U.S.

                   Congressman during a Congressional Delegation trip to Moscow in August

                   2015. In that conversation, BUTINA noted that she has the RUSSIAN

                   OFFICIAL’s diplomatic passport and can purchase a plane ticket for him

                   from St. Petersburg to Moscow; and

               •   A statement from BUTINA to the RUSSIAN OFFICIAL that the latter “has

                   the responsibility of a serious mission – restoration of relations between

                   countries.” BUTINA continued by saying that this is a long game and that

                   “maybe, by inviting the [GUN RIGHTS ORGANIZATION] here, you have

                   prevented a conflict between two great nations. [] although, I think, this is

                   the very beginning of the journey.”

       23.   Based on my training, experience, and familiarity with this investigation, I believe

that the above-described email and Twitter conversations represent BUTINA’s plan to conduct

activities as an illegal agent of the Russian Federation in the United States through a Russian

influence operation.

                                    Acts in the United States

       24.   BUTINA’s efforts in the United States to promote the political interests of the

Russian Federation were diverse and multifaceted, including BUTINA’s efforts to organize a

series of “friendship and dialogue” dinners, some of which are believed to have taken place in the

District of Columbia, as well as BUTINA’s attendance at two National Prayer Breakfasts in the

District of Columbia.

       25.   On or about January 19, 2016, BUTINA and the Russian Representative exchanged


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Twitter direct messages regarding logistics for the 2016 National Prayer Breakfast. The RUSSIAN

OFFICIAL noted that the MFA had given approval for his attendance.

       26.    On February 4, 2016, both BUTINA and the RUSSIAN OFFICIAL attended the

2016 National Prayer Breakfast in the District of Columbia.

       27.    A series of email communications (also known as “email strings”) spanning

March 10 and 11, 2016 and involving BUTINA, U.S. Person 1, and U.S. Person 2 reveal

BUTINA’s efforts to arrange the “friendship and dialogue” dinners in the District of Columbia

and New York City near the end of May 2016.           U.S. Person 1 provided a list to BUTINA of

American individuals and noted that this list would serve as “a good start for Maria’s first briefing

for [the RUSSIAN OFFICIAL’s] Friday morning in Moscow.” BUTINA expressed her gratitude

to U.S. Person 1 and noted that she had received the list before her meeting with the RUSSIAN

OFFICIAL, and “that [w]e confirm the Dates! [the RUSSIAN OFFICIAL] is working on the best

third person from the Russian side now.” Additionally, BUTINA told U.S. Person 2 that the

RUSSIAN OFFICIAL had expressed to her that he was “very much impressed by you and

expresses his great appreciation for what you are doing to restore relations between the two

countries. He also wants you to know that Russians will support the efforts from our side. That

is all I can tell you for now. More information next week!”

       28.    On March 14, 2016, BUTINA emailed U.S. Person 2 and said that the RUSSIAN

OFFICIAL confirmed to her “his desire in our Russian-American project,” and that a

representative of the Russian Presidential administration had expressed approval “for building this

communication channel.” BUTINA additionally assured U.S. Person 2 that he should not worry

as “all that we needed is <<yes>> from Putin’s side. The rest is easier.”

       29.    On March 30, 2016, BUTINA sent an email thanking an associate of the organizer




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of the 2017 Prayer Breakfast for meeting with her and the RUSSIAN OFFICIAL in Moscow. In

this email, BUTINA noted that the RUSSIAN OFFICIAL “suggested to President Putin that he

consider coming to the Prayer Breakfast next year, Feb 2017, and Pres. Putin did not say ‘no’!”

BUTINA observed that she believed that there were a number of conditions that should be met in

order for President Putin to attend, including a personal invitation from the President of the United

States and the attendance of at least fifteen other world leaders or heads of state. In a later March

email, the organizer of the 2017 National Prayer Breakfast promised BUTINA he would provide

ten seats at the 2017 event.

       30.    On September 16, 2016, BUTINA sent an email to U.S. Person 1 and U.S. Person 2

regarding organizing another Russian-American “friendship and dialogue” dinner in the District

of Columbia. BUTINA suggested scheduling the next dinner at the beginning of October 2016,

because “we only have 2 month left before the US elections and it’s the time for building an

advisors team on Russia for a new president. I am seriously worry that the candidates some

upcoming day will suddenly realize that ‘now’ is the time to do something with Russia and will

look for advisory among currently popular radically oppositional to Russia crowd of experts. Bad

things happen than. I believe we can prevent it.” [sic]

       31.    On October 4, 2016, U.S. Person 1 sent an email to an acquaintance. The email

covered a number of topics. Within the email, U.S. Person 1 stated, “Unrelated to specific

presidential campaigns, I’ve been involved in securing a VERY private line of communication

between the Kremlin and key POLITICAL PARTY 1 leaders through, of all conduits, the [GUN

RIGHTS ORGANIZATION].”              Based on my training, experience, and familiarity with this

investigation, I believe that this email describes U.S. Person 1’s involvement in BUTINA’s efforts

to establish a “back channel” communication for representatives of the Government of Russia.

       32.    On October 5, 2016, BUTINA and the RUSSIAN OFFICIAL exchanged the


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following direct messages on Twitter:

             BUTINA: Time will tell. We made our bet. I am following our game. I
             will be connecting the people from the prayer breakfast to this group. Most
             importantly, you get better. Everything else we will win.

             RUSSIAN OFFICIAL: No doubt! Of course we will win, but I (you are
             right) need to beat the illness first and get out of the hospital (I made an
             attempt today – it didn’t work). And it is not about winning today’s fight
             (although we are striving for it) but to win the entire battle. This is the battle
             for the future, it cannot be lost! Or everyone will lose.

             BUTINA: True! But don’t try to get out right now: the doctors ordered you
             to stay for a reason. Better finish the treatment. Please do not risk it. You
             have a key role and you know it. I will not manage without you.

             RUSSIAN OFFICIAL: No! This is a mistake. Your political star has risen
             in the sky. Now it is important to rise to the zenith and not burn out (fall)
             prematurely.

             BUTINA: Oh well. I am just starting in this field. I still have to learn and
             learn from you! These are not just words! Harsh and impetuous moves will
             ruin everything early.

             RUSSIAN OFFICIAL: This is hard to teach. Patience and cold blood +
             faith in yourself. And everything will definitely turn out.

             ***

             BUTINA: By your recommendation, I am setting up the groundwork here
             but I am really in need of mentoring. Or the energy might to towards the
             wrong direction. Yesterday’s dinner showed that American society is
             broken in relation to Russia. This is now the dividing line of opinions, the
             crucial one in the election race. [POLITICAL PARTY 1] are for us,
             [another major U.S. political party] – against – 50/50. Our move here is
             very important.” [sic]

       33.     During the October 5, 2016 Twitter direct communications, BUTINA and the

RUSSIAN OFFICIAL also discussed other potential steps to take in the operation. The RUSSIAN

OFFICIAL asked about how the “Russia-USA friendship society” looked at that time. BUTINA

responded, “It’s not alive. We are currently ‘underground’ both here and there. Now, private

clubs and quite [sic] influence on people making decisions is the trend. No publicity.” She



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continued, “Advisor – is the profession of the current day. Even a secret advisor. Right now the

Administration here is flexible – and there is the idea, so that the right thoughts would dominate.”

       34.    Following this October 5, 2016 Twitter conversation, BUTINA and the RUSSIAN

OFFICIAL discussed whether BUTINA should volunteer to serve as a U.S. election observer from

Russia and agreed that the risk was too high. The RUSSIAN OFFICIAL expressed the opinion

that “the risk of provocation is too high and the ‘media hype’ which comes after it,” and BUTINA

agreed by responding, “Only incognito! Right now everything has to be quiet and careful.”

       35.    In October 2016, BUTINA and the RUSSIAN OFFICIAL intermittently

communicated to discuss the topics of the 2017 National Prayer Breakfast invitation and the

upcoming elections via Twitter direct message. On October 17, 2016, BUTINA asked the

RUSSIAN OFFICIAL for a list of ten individuals from Russia who would be attending the

National Prayer Breakfast. BUTINA further suggested to the RUSSIAN OFFICIAL that it would

be a good idea to invite the Russian Ambassador and noted that it “needs to be somebody

influential from Russia, it would be better [if it were someone] from the Kremlin or RPC [Russian

Orthodox Church] of course.”

       36.    In a series of November 8 and 9, 2016 Twitter direct messages, the RUSSIAN

OFFICIAL and BUTINA discussed the results of the U.S. Presidential election as they were

announced. As part of that same Twitter conversation, BUTINA told the RUSSIAN OFFICIAL,

“. . . I’m going to sleep. It’s 3 am here. I am ready for further orders.” The RUSSIAN OFFICIAL

responded, “Think about in which areas of life we could go towards bringing us closer. ISIS –

understandably, what else we need to look at the American agenda.” After speculating about who

might be nominated as Secretary of State, BUTINA suggested a phone call to discuss, and the

RUSSIAN OFFICIAL noted that he liked the idea, but was worried that “all our phones are being

listened to!” BUTINA suggested that they talk via WhatsApp.


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       37.    On November 11, 2016, BUTINA sent the RUSSIAN OFFICIAL a direct message

via Twitter, in which she predicted who might be named Secretary of State and asked the

RUSSIAN OFFICIAL to find out how “our people” felt about that potential nomination.

       38.    Also on November 11, 2016, BUTINA sent the RUSSIAN OFFICIAL a direct

message via Twitter which included a screen shot of two “reports” in Russian. One report

proposed ways to establish dialogue with U.S. politicians through a conference. The proposal

stated that “[t]he conference must be presented as a private initiative, not a government

undertaking.” The proposal also suggested that BUTINA and a number of political officials and

U.S. Congressmen should participate. In this report, BUTINA noted to the RUSSIAN OFFICIAL,

under the heading “advantages,” that “[t]he event will get wide coverage in the press; it will be the

first positive event regarding Russia in Washington (currently, all of them are anti-Russian and

anti-Putin). The event does not pose any risks because no government officials from either country

will attend; yet it creates a foundation for further talks on the level of government officials.”

       39.    In a November 12, 2016 Twitter direct message, the RUSSIAN OFFICIAL

acknowledged reading the proposal referenced above and informed BUTINA that “they” won’t go

for it. He told BUTINA that he could not reach an MFA contact and noted “[p]eople are waiting

for the formed decisions. I will try to clarify this subject on Monday one more time.” Based on

my training, experience, and familiarity with this investigation, I believe these messages are the

RUSSIAN OFFICIAL relaying the Russian Federation’s instructions to its agent, BUTINA.

       40.   On November 30, 2016, BUTINA emailed U.S. Person 1 regarding the Russian

delegation to the 2017 National Prayer Breakfast. BUTINA stated that the “[p]eople in the list are

handpicked by [the RUSSIAN OFFICIAL] and me and are VERY influential in Russia. They are

coming to establish a back channel of communication… Let’s think if our [U.S. Person 2’s first

name] would like to meet with them…” (ellipses in original)


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       41.    On December 1, 2016, U.S. Person 1 emailed BUTINA with instructions for “what

is required to book the Russian delegation hotel rooms in the Washington Hilton – the actual venue

of the National Prayer Breakfast.” The email listed rooms and prices, and U.S. Person 1 noted,

“To be safe, I’d ask [the RUSSIAN OFFICIAL] to place US $3500 on one of your Russian charge

cards in order to pay these deposits.”

       42.    In a December 26, 2016 email, the RUSSIAN OFFICIAL told BUTINA that the

MFA had no objection to his trip to attend the National Prayer Breakfast, but “it does not mean

that everything is settled. . . . Officially, only ambassadors will be invited. There will be no state

leaders and delegations.” BUTINA replied, “The response from the MFA is perfect.[] I am

serious.”

       43.    On January 5, 2017, BUTINA was forwarded a copy of an email between U.S.

Person 1 and U.S. Person 2 regarding the 2017 National Prayer Breakfast in which U.S. Person 1

attached a list of Russian visitors, including 12 Russian guests, noting, “In addition to delegation

leader [the RUSSIAN OFFICIAL], the list is populated by important political advisors to Russian

President Putin, university presidents, mayors, and substantial private businessmen.”

       44.     On January 26, 2017, BUTINA and the RUSSIAN OFFICIAL communicated via

Twitter direct message about the RUSSIAN OFFICIAL delivering a speech the night before the

National Prayer Breakfast. BUTINA told the Russian Representative that “[t]he only thing I ask

is to somehow mention me. This is very important for me for negotiations with the breakfast

committee. They need to see me not as the delegation ‘organization committee’ but as your partner

and colleague.” The Russian Representative agreed as to the “need to stress [BUTINA’s] status

as a key figure.”

       45.    On February 2, 2017, BUTINA and the RUSSIAN OFFICIAL attended the 2017

National Prayer Breakfast in the District of Columbia.


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         46.   On February 6, 2017, BUTINA emailed a National Prayer Breakfast organizer to

thank him for “the gift of you [sic] precious time during the National Prayer Breakfast week – and

for the very private meeting that followed. A new relationship between two countries always

begins better when it begins in faith. Once you have a chance to rest after last week’s events, I

have important information for you to further this new relationship. I would appreciate one brief

additional meeting with you to explain these new developments. I remain in Washington, D.C.

pursuing my Master’s Degree at American University. My schedule is your schedule!” (emphasis

added)

         48.   On February 8, 2017, BUTINA emailed U.S. Person 2 to thank him and noted,

“Our delegation cannot stop chatting about your wonderful dinner. My dearest President has

received ‘the message’ about your group initiatives and your constructive and kind attention to the

Russians.”

         49.   At no time did BUTINA notify the Attorney General, whose office in the

Department of Justice is located in the District of Columbia, that she would and did act in the

United States as an agent of a foreign government.

                                         CONCLUSION

         50.   For the reasons stated above, there is probable cause to believe that BUTINA

conspired with one or more persons to violate 18 U.S.C. § 951, in violation of 18 U.S.C. § 371.

         51.   I declare under the penalty of perjury that the information provided above is true

and correct to the best of my knowledge.



                                                   Respectfully submitted,



                                                   KEVIN HELSON
                                                   Special Agent

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                                       Federal Bureau of Investigation


Subscribed and sworn to before me
on


_______________________________________
THE HONORABLE DEBORAH A. ROBINSON
UNITED STATES MAGISTRATE JUDGE




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